Case 2:10-md-02179-CJB-DPC Document 6897-1 Filed 07/12/12 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                      :
                                                         MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                       :
       “DEEPWATER HORIZON” in the                     :
       GULF OF MEXICO, on                             :
       APRIL 20, 2010                                 :
                                                         SECTION: J
                                                      :
THIS DOCUMENT RELATES TO:                             :
                                                      :
ALL CASES IN PLEADING BUNDLE                          :
                                                         JUDGE BARBIER
SECTION III.B(3)                                      :
                                                         MAG. JUDGE SHUSHAN
                                                      :
.. .. .. .. .. .. .. .. .. .. .. .. ..                . .. .. .. .. .. .. .. .. .. ..

 DECLARATION OF DONALD A. TOENSHOFF, JR. IN FURTHER SUPPORT
OF MARINE SPILL RESPONSE CORPORATION’S MOTION FOR SUMMARY
     JUDGMENT ON THE BASIS OF DERIVATIVE IMMUNITY AND
                        PREEMPTION

DONALD A. TOENSHOFF, JR., declares under penalty of perjury as follows:

        1.       I submit this declaration in further support of Marine Spill Response

Corporation’s (“MSRC”) motion for an order of summary judgment dismissing with

prejudice all claims asserted against MSRC in the First Amended B(3) Master Complaint

and specifically to reply to the allegations raised by the affidavits and declarations filed in

support of the Plaintiffs’ Steering Committee’s Omnibus Memorandum in Opposition to

Defendants’ Motions for Summary Judgment (“PSC’s Opposition Memo”).                I make this

declaration based upon my personal knowledge and based upon documents which are

under MSRC’s custody and control, including documents prepared by the Unified

Command during the spill response and subsequently produced by the United States and

MSRC in this litigation.




810517.00025/7143373v.1
Case 2:10-md-02179-CJB-DPC Document 6897-1 Filed 07/12/12 Page 2 of 4




         2.      I have read the declarations filed in support of the PSC’s Opposition

Memo prepared by Victor Anibal Carias, Terrence Carroll, Kirk Edwards, William Gill,

Rendell Jackson, John Lide, Roy Mackie, and Brandon Scott alleging that these

individuals were not provided with adequate personal protective equipment (“PPE”)

while participating in beach and/or coastal clean-up and/or laying and decontaminating

booms.

         3.      During the DEEPWATER HORIZON response, MSRC had no role in

supervising or directing any beach and/or coastal cleanup or near-shore booming or

decontamination operations. MSRC’s role was limited and involved contracting with

subcontractors to provide labor and other services to assist in performing some of this

work and processing invoices from these subcontractors.         MSRC did not employ

Messrs. Carias, Carroll, Edwards, Gill, Jackson, Lide, Mackie, or Scott.   MSRC had no

role or responsibility in training them, providing them with any equipment, including

PPE, or directing or supervising their work.

         4.      I have read the declarations filed in support of the PSC’s Opposition

Memo prepared by Terry Joe Carter, Dwayne Hawkins-Lodge and Warren Jones alleging

that these individuals observed aerial dispersant spraying within one-half mile off the

shore or were personally sprayed with dispersants while working on the beach at Port

Fourchon, Grand Isle and/or Elmer’s Island.

         5.      The locations where Messrs. Carter, Hawkins-Lodge and Jones allege that

they observed aerial dispersant spraying close to shore or were sprayed with dispersants

while on the beach are all thirty or more miles west of the line at 089° 30.0’ West

longitude which divided the spray operations areas between aircraft operating from

                                           2
810517.00025/7143373v.1
Case 2:10-md-02179-CJB-DPC Document 6897-1 Filed 07/12/12 Page 3 of 4




Houma-Terrebonne Airport (“Houma”) and Stennis International Airport (“Stennis”).

During the DEEPWATER HORIZON response, no aircraft operating from Stennis were

assigned to or conducted spray missions west of this dividing line. MSRC only was

involved with aerial dispersant operations during the DEEPWATER HORIZON response

originating from Stennis; it was not involved with operations originating from Houma.

        6.       I have read the affidavits filed in support of the PSC’s Opposition Memo

prepared by Ronnie Anderson and John M. Wunstell, Jr. alleging that these individuals

were sprayed with dispersants while working in the vicinity of In-Situ Burning (“ISB”)

operations and that spraying in their vicinity continued at night during the period May 22

through May 28, 2010.

        7.       I have reviewed the Daily Aerial Dispersant Plans (“DADPs”) for the

period May 22 to May 28, 2010 which were prepared each day of the response and

produced by the United States and MSRC in this litigation.         During this period, the

DADPs indicate that sunrise was no earlier than 0556 hours (5:56 a.m.) and sunset was

no later than 1925 hours (7:25 p.m.).

        8.       During the period May 22 to May 28, 2010, aerial dispersant spray

missions were flown from Stennis by MSRC’s aviation subcontractors, International Air

Response (“IAR”) and Dynamic Aviation Group (“Dynamic”).

        9.       The actual times of departure and return for all aerial dispersant sorties

originating from Stennis airport are recorded in the DADPs.     During the period May 22

to May 28, 2010, the DADPs indicate that no dispersant spray aircraft operated by IAR or

Dynamic from Stennis took off before sunrise or landed after sunset.




                                            3
810517.00025/7143373v.1
Case 2:10-md-02179-CJB-DPC Document 6897-1 Filed 07/12/12 Page 4 of 4
